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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


NATIONAL ASSOCIATION FOR THE                  )
ADVANCEMENT OF COLORED                        )
PEOPLE,                                       )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )       Civil Action No. 20-cv-2295 (EGS)
                                              )
UNITED STATES POSTAL SERVICE,                 )
et al.,                                       )
                                              )
                       Defendants.            )
                                              )

                                    [JOINT PROPOSED] ORDER

        It is hereby ORDERED that:

            1. On November 5, 2020 and November 6, 2020, Defendants shall file before the

     Court the equivalent information presented in “Defendants’ Summary of Information

     Learned from Plant Managers” (ECF No. 78) for the following United States Postal Service

     (USPS) districts: Greensboro, Mid-Carolinas, Central Pennsylvania, Western Pennsylvania,

     and Philadelphia Metropolitan.

            2. Plant managers and district managers jointly overseeing USPS facilities in

     Greensboro, Mid-Carolinas, Central Pennsylvania, Western Pennsylvania, and Philadelphia

     Metropolitan shall coordinate with all local county Boards of Elections in North Carolina or

     Pennsylvania (the “Local Board”) to deliver all ballots to the Local Board before 5:00 PM

     local time in North Carolina or Pennsylvania on November 6, 2020. Such arrangements shall

     include, at a minimum, the following:




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              a. USPS employees of each facility shall be directed to undertake a sweep of the

                  facility on the morning and again on the afternoon of November 6 to identify

                  any inbound ballots postmarked on or before November 3.

              b. The afternoon sweep should be conducted at a time sufficient for the ballots to

                  be delivered to the Local Board for receipt by 5:00 PM local time on

                  November 6, 2020.

              c. Plant managers and district managers may implement a hub-and-spoke plan

                  for each county, to the extent that such plan would assist timely delivery of

                  the ballots to the Local Board.

          3. No later than 5:00 PM EST today, Defendants shall file before the Court details of

   the arrangements adopted pursuant to Paragraph 2 of this Order by each USPS district and, to

   the extent facilities within each USPS district adopt different plans, by each USPS facility.

SO ORDERED.

                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE
Dated: __________________




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